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                IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF SOUTH CAROLINA
                        GREENVILLE DIVISION


Eden Rogers and Brandy Welch,        )
                                     )
                    Plaintiffs,      )
                                     )
 vs.                                 )
                                     )
 United States Department of )
 Health and Human Services; )
 Alex Azar, in his official capacity )
 as Secretary of the United States )
 Department of Health and )                Civil Action No. 6:19-cv-01567-TMC
 Human Services; Administration )
 for Children and Families; Lynn )                        ORDER
 Johnson, in her official capacity )
 as Assistant Secretary of the )
 Administration for Children and )
 Families; Steven Wagner, in his )
 official capacity as Principal )
 Deputy Assistant Secretary of the )
 Administration for Children and )
 Families; Henry McMaster, in his )
 official capacity as Governor of )
 the State of South Carolina; and )
 Michael Leach, in his official )
 capacity as State Director of the )
 South Carolina Department of )
 Social Services,                    )
                                     )
                    Defendants.      )
 ____________________________)

   Plaintiffs Eden Rogers (“Rogers”) and Brandy Welch (“Welch”) (collectively,

“Plaintiffs”) filed this suit alleging various constitutional violations based on their



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inability to serve as foster parents through a private child-placement agency, Miracle

Hill Ministries (“Miracle Hill”), because of their religion and sexual orientation.1

See generally (ECF No. 1). Plaintiffs contend that Miracle Hill receives government

funding and is state-licensed and, therefore, should not be able to discriminate and

deny them the ability to foster with its programs based on their religion or sexual

orientation. See id. Pertinent to this action, Plaintiffs allege that Defendant Henry

McMaster (“McMaster”) and Defendant Michael Leach (“Leach”) (collectively the

“State Defendants”) enabled, sanctioned, and failed to implement adequate

safeguards against such discrimination by seeking a waiver from the Department of

Health and Human Services (“HHS”) to permit South Carolina’s faith-based child-

placement agencies (“CPAs”) to discriminate in violation of 45 C.F.R. §§ 75.300(c)

and (d), while still receiving government funding, and by McMaster issuing

Executive Order No. 2018-12, directing the South Carolina Department of Social

Services (“DSS”) to permit faith-based CPAs to associate only with “‘foster parents

and homes who share the same faith’” as the subgrantee “‘in recruiting, training, and

retaining foster parents’” and to not deny licensure to faith-based CPAs on such

basis. Id. at 19–21. Plaintiffs further contend that Defendants HHS, Alex Azar

(“Azar”), the Administration for Children and Families, Lynn Johnson (“Johnson”),

and Steven Wagner (“Wagner”) (collectively the “Federal Defendants”) have


1
    The court notes that Miracle Hill is not a party to this action.


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enabled, sanctioned, and failed to provide adequate safeguards against such

discrimination by granting the South Carolina Foster Care Program an exemption

from the religious anti-discrimination component of 45 C.F.R. § 75.300(c). Id. at

19–23.

    This matter is before the court on the Defendants’ various motions to dismiss.

(ECF Nos. 50, 54, 57). The State Defendants filed separate motions to dismiss,2

(ECF Nos. 54, 57), and the Federal Defendants filed a joint motion to dismiss (ECF

No. 50). Plaintiffs filed a joint response in opposition to all three of Defendants’

motions to dismiss. (ECF No. 61). The State Defendants filed separate replies3

(ECF Nos. 66, 67), and the Federal Defendants filed a joint reply (ECF No. 68).

These motions to dismiss are now ripe for review. After carefully reviewing the

record and the parties’ extensive briefings, the court concludes a hearing is

unnecessary to decide this matter. See Local Rule 7.08 (D.S.C.). For the reasons

set forth below, the court grants Defendants’ motions as to Plaintiff’s equal

protection claim for religious discrimination and denies the motions as to Plaintiff’s

remaining claims for violation of the Establishment Clause and equal protection

based on sexual orientation discrimination.


2
 Leach indicates that he should be dismissed from the case for the same reasons as stated in
McMaster’s motion and that he “incorporates by reference” McMaster’s motion to dismiss (ECF
No. 57) and its attachments (ECF Nos. 57-1, 57-2, 57-3). (ECF No. 54).
3
 In Leach’s reply, he again relies upon McMaster’s reply and incorporates it by reference. (ECF
No. 67).


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            I.      BACKGROUND AND PROCEDURAL HISTORY4

        South Carolina has faced an increasing need for foster homes over the past

seven years, and South Carolina has been unable to meet the demand, leaving almost

two thousand children without home placement. See (ECF No. 1 at 7–8). In an

attempt to meet these growing needs, DSS contracts with private CPAs, who receive

licenses from the state, as well as state and federal funding, to “recruit prospective

foster parents and screen them for their suitability to obtain a foster care license.”

(ECF No. 1 at 8). Pursuant to Title IV-E of the Social Security Act, South Carolina

receives reimbursement from HHS for a portion of the state’s foster care

expenditures, which the state then uses to partially reimburse the CPAs for their

services. Id. at 10; see also S.C. Code Ann. § 63-9-30(5); S.C. Code Regs. § 114-

4910.

        DSS typically issues one-year licenses to CPAs that meet all regulatory and

DSS requirements. (ECF No. 1 at 9 (citing S.C. Code Regs. § 114-4930(E)). DSS

then monitors those CPAs to ensure that they continue to comply with federal and

state law requirements and regulations. Id. (citing S.C. Code Regs. § 114-4920(E)).

If a CPA is temporarily unable to comply with a state foster-care regulation, DSS


4
  These facts are taken from Plaintiffs’ Complaint, as the court must accept Plaintiffs’ factual
allegations as true for purposes of motions to dismiss. See Ashcroft v. Iqbal, 556 U.S. 662, 679
(2009). The court, however, is “not bound to accept as true a legal conclusion couched as a factual
allegation,” Papasan v. Allain, 478 U.S. 265, 286 (1986), nor must the court “accept as true
unwarranted inferences, unreasonable conclusions, or arguments,” E. Shore Mkts. Inc. v. J.D.
Assocs., LLP, 213 F.3d 175, 180 (4th Cir. 2000).


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may grant the agency a temporary license if the agency provides DSS with “a written

plan to correct the areas of noncompliance within the probationary period.” Id.

(citing S.C. Code Regs. § 114-4930(F)). Further, if a CPA fails to comply with

licensing regulations and DSS concludes that compliance cannot be accomplished

within a set or reasonable time, DSS may deny or revoke the CPA’s license. Id.

(citing S.C. Code Regs. § 114-4930(G)).

      DSS’s Human Services Policy and Procedure Manual (the “DSS Manual”)

sets forth its recruitment polices and requirements. See id. at 10. In particular, the

Manual provides that DSS “is committed to the exercise of non-discriminatory

practice, and shall provide equal opportunities to all families and children, without

regard to their race, color, and national origin, and religion, state of residence, age,

disability, political belief, sex or sexual orientation.” Id. (quoting DSS Manual §

710). The DSS Manual further mandates “that ‘no individual shall be denied the

opportunity to become a foster or adoptive parent on the basis of race, color, national

origin, religion, state of residence, age, disability, political belief, sex, or sexual

orientation.’” Id. (quoting DSS Manual § 710).

      In addition to the State policies and regulations, DSS and any CPAs with

which it contracts must also comply by federal statutory and regulatory requirements

in order to receive federal funding under Title IV-E of the Social Security Act. See

id. Although faith-based organizations like Miracle Hill are entitled to participate



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in HHS-funded foster care programs, HHS explicitly prohibits any organization

participating in its programs from “‘discriminat[ing] against a program beneficiary

or prospective program beneficiary on the basis of religion, a religious belief, a

refusal to hold a religious belief, or a refusal to attend or participate in a religious

practice.’” Id. at 11 (quoting 45 C.F.R. § 87.3(d)). Title IV-E also provides that, in

order for a state to receive federal funding for its foster care system, “‘neither the

State nor any other entity in the State that receives funds from the Federal

Government and is involved in adoption or foster care placements may—(A) deny

to any person the opportunity to become an adoptive or a foster parent, on the basis

of the race, color, or national origin of the person . . . .’” Id. at 12 (quoting 42 U.S.C.

§ 671(a)(18)). Additionally, as a part of its contracts with the state foster care

systems, HHS requires “‘that no person otherwise eligible will be excluded from

participation in, denied the benefits of, or subjected to discrimination in the

administration of HHS programs and services based on non-merit factors such as . .

. religion . . . or sexual orientation.’” See id. at 12–13 (quoting 45 C.F.R. §

75.300(c)).

      Miracle Hill is one of the CPAs in Greenville, South Carolina, and it serves

the counties of Abbeville, Anderson, Cherokee, Greenville, Greenwood, Laurens,

Newberry, Oconee, Pickens, and Spartanburg (known as “Region 1”). Id. at 13–14.

Miracle Hill is a faith-based ministry, and it is the largest CPA in both the state and



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the upstate South Carolina region. Id. at 13–15. As a CPA, Miracle Hill provides

comprehensive services to foster families and children, including assisting

prospective foster parents through the licensing process, conducting regular home

visits, and accompanying foster parents to all court hearings. Id. at 14. However,

Miracle Hill works exclusively with prospective foster parents who subscribe to the

evangelical Protestant Christian faith and expressly refuses to accept anyone who

does not share its religious beliefs, including same-sex couples. Id. at 16–17.

      In reviewing Miracle Hill’s 2018 application to renew its license as a CPA,

DSS discovered that Miracle Hill’s website mentioned the “‘recruitment of

specifically Christian foster parents/families’” and that foster-care applicants were

asked to provide information regarding their families’ religious beliefs and practices.

See id. at 18–19. DSS further determined that Miracle Hill “instructs its workers to

inquire as to a family’s particular religious belief and practices.” Id. at 18. DSS

followed up with Miracle Hill to determine the purpose of such inquiries and

confirmed that Miracle Hill used the religious information “to refuse to provide its

services as a licensed CPA to families who are not specifically Christians from a

Protestant denomination[.]” Id.

      Accordingly, DSS determined that Miracle Hill’s practices constituted

discrimination on the basis of religion, in violation of several state and federal

policies and regulations, including DSS’s own policy statement prohibiting such



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discrimination. Id. Therefore, on January 27, 2018, DSS issued Miracle Hill only a

temporary six-month CPA license under S.C. Code Reg. § 114-4930(F). Id. at 19.

DSS notified Miracle Hill that it had thirty days to address DSS’s concerns and issue

a written plan of compliance. Id. To Plaintiffs’ knowledge, Miracle Hill has not

issued a written plan of compliance to date. Id.

       On February 27, 2018, McMaster, in his capacity as Governor of South

Carolina, wrote a letter to Defendant Wagner, the then-Acting Secretary for the

Administration of Children and Families within HHS, requesting that HHS provide

South Carolina with a “deviation or waiver from [HHS’s] current policy to recoup

grant funds from DSS if [HHS] determines the new regulations are violated by any

DSS CPA contracts due to religiously held beliefs[.]” Id. at 20. After sending the

letter requesting the waiver, on March 13, 2018, McMaster issued Executive Order

No. 2018-12, directing DSS to permit faith-based foster-care child-placement

subgrantees to associate only with “foster parents and homes who share the same

faith . . . in recruiting, training, and retaining foster parents,” and ordering DSS not

to deny licensure of faith-based programs based on these actions. Id. at 20–21. The

Executive Order further dictated that DSS “not directly or indirectly penalize

religious identity or activity” when applying the state’s requirements for licensure

for foster care. Id. at 21.




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       On January 23, 2019, HHS conditionally granted the South Carolina Foster

Care Program an exemption from the antidiscrimination requirement of 45 C.F.R. §

75.300(c) (the “HHS Waiver”). Id. at 22. In granting the exemption, Defendant

Wagner stated that the South Carolina Foster Care Program subgrantees, like

Miracle Hill, could use “religious criteria in selecting among prospective foster care

parents,” on the condition that any subgrantee making use of the exception must

refer potential foster parents that do not adhere to the subgrantee’s religious beliefs

to other CPAs or to DSS itself. Id. Subsequently, relying on the HHS Waiver, DSS

reissued a standard CPA license to Miracle Hill and has taken no further action to

prevent Miracle Hill or any other religiously-affiliated CPA from rejecting

prospective foster parents based on their religious beliefs or sexual orientation. Id.

at 22–23.

       As it pertains to this case, Plaintiffs desired to foster children through Miracle

Hill Ministries, in hopes of allowing “more children to know what it feels like to be

unconditionally loved and to be part of a loving family[.]” Id. at 24. Plaintiffs are a

same-sex couple who were married in South Carolina on November 28, 2015, and

they have two daughters. Id. at 23, 24. On April 10, 2019, Plaintiffs called Miracle

Hill and left a voicemail indicating their interest in becoming foster parents. Id. at

24.    The next day, Welch received a call back from one of Miracle Hill’s

representatives. Id. However, according to Plaintiffs, when the representative from



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Miracle Hill learned that Plaintiffs are a same-sex couple, the representative told

them to complete the online inquiry form and advised to read about Miracle Hill on

its website. Id. The representative also repeatedly stated that “Miracle Hill is a

Christian ministry that follows Christian values.” Id.

      On April 28, 2019, Plaintiffs completed and submitted Miracle Hill’s online

inquiry form for prospective foster parents, identifying themselves as a same-sex

couple and members of the local Unitarian Universalist Church. Id. A few days

later, on May 1, 2019, Miracle Hill’s Foster Care Licensing Supervisor emailed

Plaintiffs and rejected them as potential foster parents because their faith “does not

align with traditional Christian doctrine.” Id. at 25. Specifically, the email stated

that, because Miracle Hill “feel[s] a religious obligation to partner with foster parents

who share [its] beliefs and who are active in a Christian church[,] . . . Miracle Hill

would not be a good fit to assist [Plaintiffs] in [their] quest to secure state licensure

to become foster parents.” Id.

      Plaintiffs allege that their inability to become foster parents through Miracle

Hill was directly caused by the actions of the State Defendants and Federal

Defendants because they have affirmatively enabled the discrimination against

Plaintiffs by authorizing Miracle Hill and other religiously-affiliated CPAs to use

religious criteria to reject prospective foster parents. Id. at 26. Additionally,

Plaintiffs contend that Defendants have failed to consider the best interests of the



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children and have “limit[ed] the diversity of family placement options for children

in State custody[,]” id. at 27, “den[ied] children access to loving families,” id. at 29,

thereby exacerbating South Carolina’s foster-care crisis, see id. at 26–29.

      In their Complaint, Plaintiffs assert causes of action for violation of the

Establishment Clause of the First Amendment against all Defendants, and violation

of the Equal Protection clauses of the Fifth and Fourteenth Amendments by the

Federal and State Defendants, respectively. Id. at 29–38.

      As to these claims, Plaintiffs seek for this court to (1) declare that the State

Defendants have violated and continue to violate the First and Fourteenth

Amendments to the Constitution by authorizing state-contracted, government-

funded CPAs to use religious criteria to exclude prospective foster parents and

families; (2) declare that the Federal Defendants have violated and continue to

violate the First and Fifth Amendments of the Constitution by granting the HHS

Waiver to South Carolina and enabling the use of religious criteria to reject

prospective foster families by state-contract, government-funded CPAs; (3) enter a

permanent injunction prohibiting State Defendants from contracting with, licensing,

and funding any CPA that discriminates against prospective foster parents on the

basis of religion, sex, sexual orientation, or exercise of the fundamental right to

marry a person of the same sex; (4) enter a permanent injunction ordering Federal

Defendants to rescind the HHS Waiver and prohibiting them from granting any



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future waivers that would enable discrimination based on religion or sexual

orientation in any state’s federally-funded child welfare system; (5) enter a

permanent injunction requiring State Defendants to ensure all prospective foster

parents in South Carolina are treated equally, regardless of religion or sexual

orientation, by state-contracted, government-funded CPAs; (6) award Plaintiffs

attorneys’ fees, costs, and disbursements incurred as a result of this action; and (7)

award such further and additional relief as the court deems just and proper. Id. at

38–39.

      The State Defendants have filed motions to dismiss, arguing that Plaintiffs

lack standing to assert their claims and that they have failed to allege sufficient facts

to constitute cognizable causes of action. (ECF Nos. 54, 57). Specifically, as to

standing, the State Defendants assert that Plaintiffs have not alleged a cognizable

injury; that any injury they suffered is a result of the conduct of Miracle Hill and/or

Plaintiffs and is, therefore, not fairly traceable to State Defendants; and that

Plaintiffs’ alleged injuries would not be redressed by the relief they seek. (ECF No.

57 at 8–18, 19–22).      Furthermore, State Defendants assert that, to the extent

Plaintiffs assert taxpayer standing as to their Establishment Clause claim, such

argument fails because the Executive Order and the request for the HHS Waiver

were the “result [of] Governor McMaster’s executive discretion[,]” and, therefore,

are not legislative appropriations that can be challenged via taxpayer standing. Id.



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at 18–19. As to the merits of Plaintiffs’ claims, State Defendants argue that such

claims should be dismissed because Plaintiffs have failed plausibly to allege

interference with a fundamental right in the face of “numerous legitimate

government purposes” for State Defendants’ actions, id. at 23–27; that State

Defendants’ actions did not discriminate among religions, id.; that these sorts of

actions have been “historically permissible,” id. at 28–31; and that the government’s

“accommodation of faith-based child welfare providers is not only permitted by the

First Amendment, it is required by decades of Supreme Court precedent, state and

federal law, and the First Amendment itself,” id. at 35 (emphasis omitted). Plaintiffs

responded to these motions to dismiss (ECF No. 61), and State Defendants filed

replies (ECF Nos. 66, 67).

      Federal Defendants filed a separate motion to dismiss, also asserting that

Plaintiffs lack standing to bring their claims against Federal Defendants because

Plaintiffs cannot show that their alleged injuries are traceable to them or that the

relief Plaintiffs seek will redress their alleged injuries. (ECF No. 50-1 at 10–16).

Federal Defendants also assert that Plaintiffs lack taxpayer standing because

“Plaintiffs have not identified any act of Congress that appropriates funds

specifically for faith-based organizations under the Title IV-E program,” and no act

of Congress “expressly contemplates, let alone requires, the involvement of faith-

based organizations in the program.” Id. at 16–18. Finally, Federal Defendants



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assert that Plaintiffs have failed to raise cognizable constitutional claims because

Plaintiffs have failed to identify a state action for which Federal Defendants can be

held responsible; the HHS waiver was driven by a secular purpose with the primary

effect of neither advancing nor inhibiting religion and did not excessively entangle

church and state; the exemption was not fatally arbitrary; and the exemption is

rationally related to legitimate government interests.         Id. at 19–30.     Plaintiff

responded to the motion (ECF No. 61), and Federal Defendants replied (ECF No.

68). The motions to dismiss are now ripe for review.

                             II.   LEGAL STANDARD

      Article III of the Constitution restricts federal courts’ jurisdiction to the

adjudication of cases and controversies. Raines v. Byrd, 521 U.S. 811, 818 (1997).

One element of the case-or-controversy requirement is that a plaintiff must have

standing to sue, or, in other words, that the plaintiff is the proper party to bring suit.

See id. The standing doctrine upholds this restriction by “ensur[ing] that a plaintiff

has a personal stake in the outcome of a dispute, and that judicial resolution of the

dispute is appropriate.” Friends of the Earth, Inc. v. Gaston Copper Recycling

Corp., 629 F.3d 287, 396 (4th Cir. 2011) (“Gaston II”). Thus, “[t]o meet the

constitutional requirement for standing, a plaintiff must prove that: 1) he or she

suffered an ‘injury in fact’ that is concrete and particularized, and is actual or

imminent; 2) the injury is fairly traceable to the challenged action of the defendant;



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and 3) the injury likely will be redressed by a favorable decision.” Id. Such alleged

injury must be particularized to that plaintiff, and courts have consistently held that

“a plaintiff raising only a generally available grievance about government—

claiming only harm to his and every citizen’s interest in proper application of the

Constitution and laws and seeking relief that no more directly and tangibly benefits

him than it does the public at large—does not have an Article III case or

controversy.”    Lujan v. Defenders of Wildlife, 504 U.S. 555, 573–74 (1992).

Additionally, to be “fairly traceable” to the defendant, there must be a “causal

connection between the injury and the conduct complained of” and the injury must

not be the result of “the independent action of some third party not before the court.”

Id. at 561. Furthermore, the Plaintiffs must show more than mere conjecture or

speculation as to the redressability of their alleged injury should they prevail on the

merits of their case.

      The party invoking federal jurisdiction bears the burden of establishing the

three elements of standing. Id. Because standing is not a pleading requirement but

rather an “indispensable part of the plaintiff’s case” that speaks directly to whether

the claims establish a “case or controversy” within the parameters of federal court

jurisdiction, “each element must be supported in the same way as any other matter

on which the plaintiff bears the burden of proof” at that stage in the litigation. Id.

Accordingly, here, the court considers Plaintiffs’ burden regarding standing with the



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same scrutiny that it would within the context of a motion to dismiss at the pleading

stage.

         A motion to dismiss filed pursuant to Federal Rule of Civil Procedure 12(b)(6)

tests the legal sufficiency of a complaint or pleading. Francis v. Giacomelli, 588

F.3d 186, 192 (4th Cir. 2009). “[T]he legal sufficiency of a complaint is measured

by whether it meets the standard stated in Rule 8 [of the Federal Rules of Civil

Procedure] . . . and Rule 12(b)(6) (requiring that a complaint state a claim upon

which relief can be granted).” Id. Rule 8(a)(2) requires that a pleading must contain

“a short and plain statement of the claim showing that the pleader is entitled to

relief.” Fed. R. Civ. P. 8(a)(2). This pleading standard requires that a complaint

contain “more than labels and conclusions, and a formulaic recitation of the elements

of a cause of action will not do.” Bell Atl. Corp v. Twombly, 550 U.S. 544, 555

(2007).

         In Ashcroft v. Iqbal, the United States Supreme Court stated that to survive a

12(b)(6) motion to dismiss, “a complaint must contain sufficient factual matter,

accepted as true, ‘to state a claim to relief that is plausible on its face.’” 556 U.S.

662, 678 (2009) (quoting Twombly, 550 U.S. at 570). “A claim has facial plausibility

when [a party] pleads factual content that allows the court to draw the reasonable

inference that the [opposing party] is liable for the misconduct alleged.” Id. The

plausibility standard “asks for more than a sheer possibility that a [party] has acted



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unlawfully.” Id. Rather, “[i]t requires [a party] to articulate facts, when accepted as

true, that ‘show’ that [the party] has stated a claim entitling [them] to relief[.]”

Francis, 588 F.3d at 193 (quoting Twombly, 550 U.S. at 557). Such “factual

allegations must be enough to raise a right to relief above the speculative level.”

Twombly, 550 U.S. at 555. “Determining whether a complaint states [on its face] a

plausible claim for relief [which can survive a motion to dismiss] will . . . be a

context-specific task that requires the reviewing court to draw on its judicial

experience and common sense.” Iqbal, 556 U.S. at 679. However, “where the well-

pleaded facts do not permit the court to infer more than the mere possibility of

misconduct, the complaint has alleged—but it has not ‘show[n]’—“‘that the pleader

is entitled to relief.’” Id. (quoting Fed. R. Civ. P. 8(a)(2)).

                                  III.   ANALYSIS

      A. Plaintiffs Have Adequately Alleged General Article III Standing for
         Their Establishment Clause and Equal Protection Claims.

      Before the court can address the merits of Plaintiffs’ Complaint to determine

if they have set forth cognizable claims for relief, the court must first consider

whether Plaintiffs have standing to bring this action. See Raines, 521 U.S. at 818

(recognizing that standing is jurisdictional because without standing, there is no

“case-or-controversy”); see also Simon v. E. Ky. Welfare Rights Org., 426 U.S. 26,

37 (1976) (“No principle is more fundamental to the judiciary’s proper role in our

system of government than the constitutional limitation of federal-court jurisdiction


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to actual cases or controversies.”). As noted above, Plaintiffs bear the burden of

proving the following elements with sufficient factual allegations as would survive

a motion to dismiss: (1) a particularized injury in fact; (2) traceability of that injury

to the defendants; and (3) the likelihood that the injury will be redressed by a

favorable decision of this court. See Lujan, 504 U.S. at 560–61.

       1. Injury in Fact

       In the Complaint, Plaintiffs allege the following injuries: (1) that “Defendants’

actions have created a public child welfare system in South Carolina, funded by

taxpayer dollars, in which the suitability of prospective foster parents is assessed

based on religious requirements[;]”5 and (2) that they were “den[ied] . . . the same

opportunities [to foster or volunteer with foster children] that are afforded to families

that meet Miracle Hill’s religious test[,]” such that Defendants have “create[d] a

practical barrier to fostering . . . and also stigmatize[d] [Plaintiffs], branding them as



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  Although Plaintiffs assert that they do not rely on their status as taxpayers to bring their claims,
(ECF No. 61 at 3 n.3, 10 n.5), to the extent their allegation in the Complaint regarding the
government’s use of taxpayer dollars to support faith-based CPAs can be construed to raise
taxpayer standing, the court finds such injury is not particularized to Plaintiffs and cannot support
standing. Courts have consistently held that “plaintiff[s] raising only a generally available
grievance about government—claiming only harm to [their] and every citizen’s interest in proper
application of the Constitution and laws, and seeking relief that no more tangibly benefits [them]
than it does the public at large—does not state an Article III case or controversy.” Lujan, 504 U.S.
at 573–74. Plaintiffs’ alleged injury involving tax dollars being used to support faith-based CPAs
is separate and distinct from their alleged injuries of stigmatization and practical barriers to their
participation in the foster-parent program, and is not particularized to Plaintiffs but could apply to
every other taxpaying citizen in the public at large. Therefore, the court finds Plaintiffs’ alleged
injury regarding the government’s use of their tax dollars to fund religiously-discriminatory CPAs,
to the extent they raise such an argument, is insufficient to establish standing.

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inferior and less worthy of serving as foster parents.” (ECF No. 1 at 3, 4). In their

response to the motions to dismiss, Plaintiffs clarify their injuries as “(1) the stigma

resulting from the discrimination they suffered based on their religion and sexual

orientation when they sought to participate in the South Carolina foster care system;

and (2) the practical barriers to participation in that government program imposed

by that discrimination.” (ECF No. 61 at 10). For purposes of their motions to

dismiss, the Federal Defendants do not contest that Plaintiffs have satisfied the first

element of standing by sufficiently alleging an injury in fact. See (ECF Nos. 50-1 at

12–16 (addressing traceability and redressability, but assuming injury in fact has

been satisfied); 61 at 10, 10 n.6). The State Defendants, on the other hand, attempt

to recharacterize Plaintiffs’ stated injury as denial of “their ability to foster through

a specific, private CPA of their choice[,]” and argue that “there is no constitutionally

protected right to become a foster parent by means of volunteering with a CPA of

one’s own choosing.” (ECF No. 57 at 12 (emphasis omitted)).

      The court first notes that, at this stage in the litigation, it must accept the well-

pled allegations in the Complaint as true. King v. Rubenstein, 825 F.3d 206, 212

(4th Cir. 2016). Accordingly, the court must accept Plaintiffs’ characterization of

their injuries—namely, the stigma resulting from the discrimination Plaintiffs’

suffered and the practical barriers to their participation in the South Carolina state

foster care program—and disregard the State Defendant’s recharacterization of such



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injuries as the ability to foster specifically through Miracle Hill. Additionally, to the

extent the State Defendants contend that the Plaintiffs’ stated injuries fail to satisfy

the injury in fact element of standing, this argument must also fail.

      As the United States Supreme Court has explained, stigmatic injury “accords

a basis for standing . . . to ‘those persons who are personally denied equal treatment’

by the challenged discriminatory conduct[.]” Allen v. Wright, 468 U.S. 737, 755

(1984) (quoting Heckler v. Mathews, 465 U.S. 728, 740 (1984)). Indeed, the

Supreme Court has recognized that “discrimination itself, by perpetuating ‘archaic

and stereotypic notions’ or by stigmatizing members of the disfavored group as

‘innately inferior’ and therefore as less worthy participants in the political

community, can cause serious non-economic injuries to those persons who are

personally denied equal treatment solely because of their membership in a

disfavored group.” Heckler, 465 U.S. at 739–40. Similarly, the Fourth Circuit has

held that “[f]eelings of marginalization and exclusion are cognizable forms of

injury” in the context of Establishment Clause claims, “because one of the core

objections of modern Establishment Clause jurisprudence has been to prevent the

State from sending a message to non-adherents of a particular religion ‘that they are

outsiders, not full members of the political community.’” Moss v. Spartanburg Cty.

Sch. Dist. Seven, 683 F.3d 599, 607 (4th Cir. 2012) (quoting McCreary Cty. v.

ACLU, 545 U.S. 844, 860 (2005)). In this case, Plaintiffs allege stigmatic injury



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because they were personally turned away by Miracle Hill, a government-funded,

faith-based CPA, on the grounds that they did not conform to Miracle Hill’s religious

standards. Therefore, Plaintiffs have sufficiently alleged an injury-in-fact with

respect to both their Equal Protection and Establishment Clause claims.

      Plaintiffs also allege that the Defendants’ actions have created practical

barriers to Plaintiffs’ participation in the state foster care program “as not all foster

care agencies are equivalent or offer the same services[.]” (ECF No. 1 at 4).

Specifically, Plaintiffs allege that, by authorizing discrimination by CPAs providing

public foster care services, Defendants have denied Plaintiffs access to “the largest

and most well-resourced CPA in the state, which, because of the substantial

government funding it receives, can provide comprehensive support to foster

families.” (ECF No. 61 at 20–21). Plaintiffs need not allege that they have been

excluded entirely from participation in the state foster care program or even that they

have been rejected by a majority of CPAs. On the contrary, it is well-established

that “[w]hen the government erects a barrier that makes it more difficult for members

of one group to obtain a benefit than it is for members of another group, a member

of the former group seeking to challenge the barrier need not allege that he would

have obtained the benefit but for the barrier in order to establish standing.” N.E. Fla.

Chapter of the Assoc. Gen. Contractors of Am. v. City of Jacksonville, Fla., 508 U.S.

656, 666 (1993). In the context of equal protection cases, the injury in fact is nothing



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more than “the denial of equal treatment resulting from the imposition of the barrier,

not the ultimate inability to obtain the benefit.” Id. Plaintiffs allege in the Complaint

that Miracle Hill recruits fifteen percent of the foster families in South Carolina.

(ECF No. 1 at 13). “Thus it is reasonable to infer that the ability of faith-based

agencies [like Miracle Hill] to employ religious criteria as a basis to turn away same-

sex couples erects at least a [15]% barrier to the [Plaintiffs’] ability to . . . foster a

child in the State of [South Carolina].” Dumont v. Lyon, 341 F. Supp. 3d 706, 722

(E.D. Mich. 2018). Therefore, Plaintiffs have adequately alleged an injury in fact

for both their Establishment Clause and Equal Protection claims.

      2. Traceability

      With respect to the second element of standing—traceability—both the State

and Federal Defendants argue Plaintiffs’ injuries are not fairly traceable the

Defendants because a third party, Miracle Hill, “declined to assist Plaintiffs in

become foster parents because of its own religious beliefs.” (ECF No. 50-1 at 13);

see also id. at 10; (ECF No. 57 at 13–14). In response, Plaintiffs assert that their

injuries are directly traceable to the Defendants, because Defendants took

affirmative steps to permit Miracle Hill to discriminate against and refuse to work

with Plaintiffs because of their religious beliefs and sexual orientation. See (ECF

No. 61 at 22–26).




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       For a Plaintiff to establish that her injuries are traceable to the defendant, she

must show that there is a “causal connection between the injury and the conduct

complained of.” Lujan, 504 U.S. at 560. The injury must be fairly traceable to the

“challenged action of the defendant[,] . . . not the result of independent action of

some third party not before the court.” Id. Nevertheless, the Fourth Circuit has

explained that “[i]mposition of the stringent proximate cause standard, derived from

principles of tort law, has been held to ‘wrongly equate injury fairly traceable to the

defendant with injury as to which the defendant’s actions are the very last step in the

chain of causation.’” Libertarian Party of Va. v. Judd, 718 F.3d 308, 315–16 (4th

Cir. 2013) (quoting Bennett v. Spear, 520 U.S. 154, 168–69 (1997)) (internal

alterations omitted). Accordingly, the relevant inquiry to determine traceability is

simply whether the Defendants’ alleged actions are “at least in part responsible for”

Plaintiffs’ injuries. Id.

       As an initial matter, this court notes—as have courts from other circuits—the

potential implications of the Defendants’ position. See Marouf v. Azar, 391 F. Supp.

3d 23, 34 (D.D.C. 2019). Essentially, according to Defendants, neither a state nor a

federal agency can be held accountable for a grantee’s known, and explicitly

permitted, exclusion of persons from a government-funded program based on

religious criteria. See id.; see also (ECF Nos. 50, 57). As the District Court for the

District of Columbia explained, “[s]urely, the government would not take this



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position if, say, Plaintiffs here were excluded from fostering a child based on their

gender (both are women), national origin, or religious faith.” Marouf, 391 F. Supp.

3d at 34 (emphasis added). In this case, that is the same argument Defendants make

to defend their actions which allowed Plaintiffs to have been rejected from South

Carolina’s public foster care program.

      Nevertheless, despite Defendants’ attempt to pass-the-buck on to Miracle Hill,

courts in this circuit have held that “a ‘challenged agency action authorizing the

conduct that allegedly caused’ [Plaintiffs’] injuries” is sufficient to establish

causation and traceability for purposes of standing. Mathis v. Geo Group, Inc., No.

2:08-CT-21-D, 2010 WL 3835141, at *6 (E.D.N.C. Sept. 29, 2010) (quoting Animal

Legal Def. Fund, Inc. v. Glickman, 154 F.3d 426, 440 (D.C. Cir. 1998) (en banc))

(internal alterations omitted) (emphasis added). Plaintiffs have met that standard.

As discussed above, Plaintiffs allege they suffered the stigma resulting from being

discriminated against on the basis of their religion and sexual orientation, as well as

the practical barriers to their participation in the State foster care program. (ECF

Nos. 1 at 4; 61 at 10). To show that the stigma and practical barriers to fostering

were the result of the Defendants’ conduct, Plaintiffs’ Complaint details the

progression of events within both the federal and state governments that ultimately

lead to McMaster’s 2018 Executive Order and the HHS Waiver which they

challenge. See (ECF No. 1 at 7–23).



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      To begin, the Complaint sets forth the processes by which CPAs are licensed

through DSS, including the requirement that they comply with all State and federal

policies and regulations, and reimbursed by DSS with funds from HHS. (ECF No.

1 at 9–10).     Both DSS and HHS prohibit government-funded CPAs from

discriminating against foster children or prospective foster parents on the bases of

religion and sexual orientation. Id. at 10, 11, 12–13 (citing DSS Manual; 45 C.F.R.

§§ 75.300(c), 87.3). When DSS became aware that Miracle Hill was rejecting

prospective foster families who did not meet Miracle Hill’s religious criteria, in

contravention of both state and federal regulations, DSS declined to renew Miracle

Hill’s standard CPA license. Id. at 18–19. Instead, DSS issued Miracle Hill a

temporary six-month license and required that Miracle Hill “issue a written plan of

compliance within thirty days[.]” Id. at 19. “If Miracle Hill failed to address these

concerns, DSS would [have] allow[ed] Miracle Hill’s temporary CPA license to

expire[,] [and] [a]bsent a CPA license, Miracle Hill would no longer be able to

provide public child welfare services in South Carolina[,]” subject to its

discriminatory criteria. Id. As the Complaint explains, however, that is not what

happened.

      Plaintiffs claim that, “[r]ather than requiring Miracle Hill to comply with the

applicable state and federal non-discrimination requirements as DSS had, Governor

McMaster sought to create and obtain exemptions from such requirements to enable



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Miracle Hill to continue excluding prospective foster parents based on its religious

criteria.” Id. Accordingly, McMaster requested that HHS grant South Carolina a

waiver from the non-discrimination provisions of 45 C.F.R. § 75.300(c), which

would allow “South Carolina’s CPAs to engage in religiously motivated

discrimination while the State continues to receive federal funding for its foster care

program.” Id. at 20. While awaiting’s response, DSS refused to issue a standard

CPA license to Miracle Hill “unless and until HHS granted the requested waiver.”

Id. at 21. Only after the HHS Waiver was granted did DSS reissue a standard CPA

license to Miracle Hill. Id. at 22.

      Additionally, before the HHS Waiver was granted, McMaster entered the

Executive Order requiring DSS “to review and revise its policies and manuals . . .

[to] ensure that DSS does not directly or indirectly penalize religious identity or

activity[,]” and prohibiting DSS from “deny[ing] licensure to faith-based CPAs

solely on account of their . . . sincerely held religious beliefs.” Id. at 20–21. As a

result of the Executive Order and the HHS Waiver, “DSS has taken no further steps

to prevent discrimination by Miracle Hill against prospective foster parents based on

religion or sexual orientation.” Id. at 23. Thus, Plaintiffs have alleged that the

injuries they claim “could not have occurred but for the actions of the State and

Federal Defendants in authorizing and enabling the use of religious eligibility

criteria by state-contracted, government-funded foster care agencies providing



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public foster care services on behalf of the State.”       (ECF No. 61 at 11–12).

Accordingly, the well-pled allegations in the Complaint clearly establish that

Defendants are “at least in part responsible for” Plaintiff’s alleged injuries, Judd,

718 F.3d at 316, and the traceability requirement of standing has been met.

      3. Redressability

      Finally, the Defendants argue that (1) because Miracle Hill was the cause of

Plaintiff’s injuries, the relief requested against Defendants “would do nothing more

than raise a speculative chance of remedying Plaintiffs’ alleged injur[ies];” and (2)

since Miracle Hill is not a party to this action, the court cannot issue relief

compelling Miracle Hill to refrain from taking actions causing Plaintiffs’ injuries or

to redress them. (ECF No. 50-1 at 10–11); see also (ECF No. 57 at 17–18). In reply,

Plaintiffs argue that, “[i]f the State Defendants are no longer permitted to allow

CPAs to discriminate based on religion or sexual orientation, there will be no more

CPAs that discriminate,” thus removing any stigma resulting from the allowance of

such discrimination as well as any practical barriers to Plaintiffs’ ability to

participate in the state foster care program. (ECF No. 61 at 28). Plaintiffs assert the

same logic also applies to the relief sought against the Federal Defendants. See id.

at 29. Plaintiffs allege that, without the HHS waiver, DSS would be required to

ensure that all state-licensed CPAs conduct their activities in compliance with

federal law. Id. Miracle Hill, and other faith-based CPAs, can choose whether to



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stop discriminating on the bases of religion and sexual orientation or to stop

providing public child welfare services; either way, the ultimate result is the same:

“Plaintiffs would no longer be turned away from a government program because of

their religion or sexual orientation, and would have the same array of agency options

available to other families[.]” Id.

      Again, at this stage of the proceedings, the court must accept the well-pled

factual allegations in the Complaint. The Supreme Court has recognized that

“[w]hen the ‘right invoked is that of equal treatment,’ the appropriate remedy is a

mandate of equal treatment, a result that can be accomplished by withdrawal of

benefits from the favored class as well as by extension of benefits to the excluded

class.” Heckler, 465 U.S. at 740 (quoting Iowa-Des Moines Nat’l Bank v. Bennett,

284 U.S. 239, 247 (1931)) (emphasis in original). In this case, Plaintiffs ask the

court, inter alia, to enjoin Defendants from funding or licensing “any CPA that

discriminates against prospective foster parents based on their religion, sex, sexual

orientation, or exercise of the fundamental right to marry a person of the same sex[.]”

(ECF No. 1 at 38–39). In other words, Plaintiffs seek a mandate of equal treatment

with respect to participation in South Carolina’s public child welfare and foster

program. Plaintiffs allege injury by reason of the stigma of discrimination and

practical barriers to fostering enabled by the actions of the Defendants. Accepting

the factual allegations in the complaint as true, as it must as this stage of the



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proceedings, the court finds that, for purposes of this order, the remedies Plaintiffs

seek would redress the harms alleged.

      The Federal Defendants argue that it is purely speculative whether “granting

relief against [them] would cause South Carolina to cease licensing Miracle Hill as

a [CPA], a decision over which Federal Defendants have no control.” (ECF No. 50-

1 at 15). Similarly, the State Defendants contend “it is speculative, at best, that the

reversal of Governor McMaster’s policies challenged by Plaintiffs would lead

Miracle Hill to associate with those, like Plaintiffs, who do not share its beliefs[.]”

(ECF No. 57 at 14–15); see also id. at 17–18. Defendants’ arguments might be

persuasive if the harm alleged by Plaintiffs was the ability to foster specifically

through Miracle Hill. However, that is not the harm Plaintiffs allege or seek to

remedy by the relief requested. For purposes of standing at this stage of the

litigation, Plaintiffs have sufficiently alleged that Defendants caused Plaintiffs’

injuries by creating a system that permits religiously-affiliated CPAs to use religious

eligibility criteria to deny federally- and state-funded public services to prospective

foster families. Thus, an order requiring “Defendants to develop a system that

removes barriers to same-sex couples becoming foster parents and evaluates their

eligibility by the same criteria as any heterosexual couple or person will make

Plaintiffs whole.” Marouf, 391 F. Supp. 3d at 37. The same logic applies to

removing religious criteria to evaluate all prospective foster parents on the same



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bases regardless of their religious beliefs.         Accordingly, “‘[n]o speculative

inferences are necessary here to conclude that the relief requested will result in the

Plaintiffs receiving the dignity and equal treatment they seek.’”          Id. (quoting

Dumont, 341 F. Supp. 3d at 725).

      Therefore, the court concludes, for purposes of the pending motions to

dismiss, that Plaintiffs have sufficiently alleged an injury in fact, fairly traceable to

the Defendants, which is redressable by the relief sought in the Complaint and,

therefore, have established standing to bring their claims.

      B. Plaintiffs’ Complaint sets forth a claim for violation of the
         Establishment Clause.

      The Establishment Clause requires that “Congress shall make no law

respecting an establishment of religion, or prohibiting the free exercise thereof.”

U.S. Const. amend. 1, cl. 1.        When evaluating a claim for violation of the

Establishment Clause, the Fourth Circuit has repeatedly indicated that the applicable

test is that set forth by the United States Supreme Court in Lemon v. Kurtzman, 403

U.S. 602 (1971). See, e.g., Wood v. Arnold, 915 F.3d 308, 313 (4th Cir. 2019). To

pass scrutiny under the Lemon test, the government’s conduct “‘(1) must be driven

in part by a secular purpose; (2) must have a primary effect that neither advances nor

inhibits religion; and (3) must not excessively entangle church and State.’” Id. at

314 (quoting Moss v. Spartanburg Cty. Sch. Dist. 7, 683 F.3d 599, 608 (4th Cir.

2012)) (emphasis omitted). Government action violates the Establishment Clause if


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it fails any of the Lemon factors. Id. In this case, although the parties dispute

whether the Defendants’ can identify a secular purpose for their actions under the

first prong,6 the well-pled allegations in the Complaint clearly set forth a cause of

action based on Defendants’ alleged violation of the second and third prongs of the

Lemon test.

       To satisfy the second Lemon factor, the primary effect of the challenged action

must neither be to advance nor to inhibit religion. Wood, 915 F.3d at 316. “This

requirement sets an objective standard, which ‘measures whether the principal effect

of government action is to suggest government preference for a particular religious

view or for religion in general.’” Id. (quoting Mellen, 327 F.3d at 374) (internal

alterations omitted). When deciding what the primary purpose or effect of the

government’s conduct is, courts in this circuit “consistently have examined the entire

context surrounding the challenged practice, rather than only reviewing the

contested portion.” Id. at 314. Additionally, the Fourth Circuit has included within

this objective analysis the United States Supreme Court’s “endorsement test,” which

considers whether a reasonable, informed observer would conclude that the


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  Defendants claim the secular purpose for their actions was to maximize the number and diversity
of available foster and adoption agencies in the state. (ECF Nos. 50-1 at 25–26; 57 at 32). In
response, Plaintiffs argue this is merely a “sham” purpose and that the allegations in the Complaint
demonstrate that “allowing CPAs to exclude qualified foster families based on religious criteria
unrelated to the ability to care for a child does not maximize the number of families for children
but rather, the opposite.” (ECF No. 61 at 39). The court need not address this prong however,
because it finds that the complaint alleges violation of the two remaining prongs of the Lemon test,
as discussed below, sufficiently to avoid dismissal at this stage of the case.


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government’s action amounts to the endorsement of a particular religion or religion

generally. Id. at 316. “Thus, in this Circuit, the primary effect prong asks whether,

irrespective of government’s actual purpose, a reasonable, informed observer would

understand that the practice under review in fact conveys a message of endorsement

or disapproval of a religion.” Id. (quoting Mellen, 327 F.3d at 374) (internal

quotation marks omitted). In this context, a reasonable, informed observer is

presumed to be “‘aware of the history and context of the forum in which the

[challenged conduct] takes place.’” Id. (quoting Good News Club v. Milford Cent.

Sch., 533 U.S. 98, 119 (2001)).

      With this standard in mind, at this stage of the proceedings the court must

consider only whether, accepting as true the allegations in the Complaint and all

reasonable inferences arising therefrom, Plaintiffs have plausibly alleged that

Defendants’ conveyed a message endorsing religion by allowing state-licensed,

government-funded CPAs to reject prospective foster parents based on religious

criteria. The court finds that they have.

      Specifically, as to the State Defendants, Plaintiffs allege that “[w]hen it came

to light that . . . Miracle Hill[] was excluding prospective foster parents based on

religious criteria, [McMaster] took action to ensure that the discrimination could

continue despite DSS’s recognition that it violated state and federal law and

policy[;]” and “[o]nce the HHS Waiver was granted to South Carolina, DSS issued



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a new standard CPA license to Miracle Hill, with full knowledge that Miracle Hill

would continue to exclude prospective foster parents, like [Plaintiffs], based on

religious criteria.” (ECF No. 1 at 29–30). Similarly, Plaintiffs allege the Federal

Defendants “authorized and enabled the use of religious eligibility criteria to

discriminate against prospective foster parents, like [Plaintiffs], in the South

Carolina public child welfare system by exempting the State from a federal

regulation that prohibits such discrimination . . . and continuing to provide federal

funding to South Carolina for its foster care program, with the knowledge that the

State requested the exemption in order to allow Miracle Hill to turn away prospective

foster parents who are not evangelical Protestant Christians.” Id. at 32. Plaintiffs

assert that, but for the Federal Defendants’ issuance of the HHS Waiver, “the State

Defendants would not have provided Miracle Hill with a standard CPA license and

authorized its continued use of religious criteria in recruiting and screening

prospective foster parents.” Id. As a result, Plaintiffs claim the effect of Defendants’

actions is to “harm prospective foster families whose faith is other than evangelical

Protestant Christianity and prospective foster families headed by same-sex couples

regardless of their faith, denying them the same opportunities to foster that are

available to families that meet Miracle Hill’s religious requirements[,]. . . [and]

coerce prospective foster parents to support the specific religious beliefs of Miracle




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Hill so that they will be permitted to foster children through the agency.” (ECF No.

1 at 30–31, 33).

      Although the Defendants dispute these facts, see (ECF Nos. 50-1 at 26–28; 57

at 32), the court must assume their veracity based on the present procedural posture.

Accepting the truth of the factual allegations above, as well as those set forth in the

rest of the Complaint, the court finds that a reasonable, informed observer could

conclude that the Defendants’ actions were taken in an effort to protect a specific

CPA, Miracle Hill, and permit discrimination within South Carolina’s foster care

program on the basis of Miracle Hill’s religious criteria. Other courts have similarly

held that where, as Plaintiffs allege occurred in this case, a state’s authorization for

faith-based CPAs to use religious criteria to exclude prospective foster parents

“objectively endorses the religious views of those agencies[,] . . . sending a message

. . . that [those prospective foster parents who are rejected] are outsiders, not full

members of the community.” Dumont, 341 F. Supp. 3d at 734 (internal quotation

marks omitted). Accordingly, taking all facts set forth in the Complaint as true,

Plaintiffs have set forth sufficient allegations that Defendants’ actions had the

primary effect of advancing and endorsing religion and, thereby, violate the Lemon

test and the requirements of the Establishment Clause.

      Moreover, Plaintiffs have also stated a plausible claim for violation of the

Establishment clause based on the third prong of the Lemon test, which requires



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courts to determine whether the challenged government action has created “‘an

excessive entanglement between government and religion,’ which ‘is a question of

kind and degree.’” Wood, 915 F.3d at 318. One way in which plaintiffs commonly

establish excessive entanglement is to show that the government’s action “has ‘the

effect of advancing or inhibiting religion.’” Id. (citing Agostini v. Felton, 521 U.S.

203, 232–33 (1997)). As discussed above, the court has already found that the

Defendants’ action as alleged in the Complaint had the primary effect of advancing

religion. Consequently, Plaintiffs’ have sufficiently pled that the challenged actions

excessively entangled the government and religion. See id. Thus, the well-pled

allegations in the Complaint sufficiently assert, for purposes of this order, that

Defendants have violated both the second and third prongs of the Lemon test and,

thereby, set forth a claim for violation of the Establishment Clause.

      1. Accommodation vs. Establishment Clause

      Both State and Federal Defendants argue that they cannot be liable for

violation of the Establishment Clause because their actions merely accommodated

Miracle Hill’s and other faith-based CPAs’ religious beliefs by allowing them to

participate in the State child welfare system as CPAs without compromising those

sincerely-held beliefs. See (ECF Nos. 50-1 at 25–26, 28–29; 57 at 33–35). However,

the United States Supreme Court has made it clear that “accommodation is not a

principle without limits[.]” Board of Educ. of Kiryas Joel Village Sch. Dist. v.



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Grumet, 512 U.S. 687, 706 (1994). In this case, “[t]he fact that [the Executive Order

and the HHS Waiver] facilitate[] the practice of religion is not what renders it an

unconstitutional establishment.” Id. Supreme Court precedent “allow[s] religious

communities and institutions to pursue their own interests free from governmental

interference, but [the Supreme Court] ha[s] never hinted that an otherwise

unconstitutional delegation of political power to a religious group could be saved as

a religious accommodation.” Id. (emphasis added); see also Larkin v. Grendel’s

Den, Inc., 459 U.S. 116, 123 (1982) (“Some limited and incidental entanglement

between church and state authority is inevitable in a complex modern society, but

the concept of a ‘wall’ of separation is a useful signpost. Here that ‘wall’ is

substantially breached by vesting discretionary governmental powers in religious

bodies.” (internal citations omitted)). As the Supreme Court has explained,

             The principle that government may accommodate the free
             exercise of religion does not supersede the fundamental
             limitations imposed by the Establishment Clause. It is
             beyond dispute that, at a minimum, the Constitution
             guarantees that government may not coerce anyone to
             support or participate in religion or its exercise, or
             otherwise act in a way which establishes a state religion or
             religious faith, or tends to do so.

Santa Fe Independent Sch. Dist. v. Doe, 530 U.S. 290, 302 (2000) (quoting Lee v.

Weisman, 505 U.S. 577, 587 (1992)) (internal alterations and quotation marks

omitted). This is what Plaintiffs allege in this case: that “[b]y knowingly funding an

agency that uses religious eligibility criteria to screen prospective foster parents,


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Defendants commit[ted] one of the primary ‘evils’ targeted by the Establishment

Clause: ‘sponsorship and financial support’ of religion.” (ECF No. 61 at 34 (quoting

Comm. for Pub. Ed. & Religious Liberty v. Nyquist, 413 U.S. 756, 772 (1973)); see

also id. at 33–34 (arguing that State Defendants delegated a government function to

a religious organization and improperly allowed the use of religious criteria in the

exercise of that function in violation of the Establishment Clause); (ECF No. 1 at

30–31; 33 (alleging Defendants’ actions coerce prospective foster parents to adopt

Miracle Hill’s religious beliefs in order to be able to foster through that agency)).

      “[T]he core rationale underlying the Establishment Clause is preventing ‘a

fusion of governmental and religious functions[.]” Larkin, 459 U.S. at 126 (quoting

Sch. Dist. of Abington Township v. Schempp, 374 U.S. 203, 222 (1963)). According

to the Complaint, the system which Defendants’ “accommodations” have created

“does not by its terms require that [religiously affiliated CPAs’] power be used in a

religiously neutral way.” Id. at 125 (emphasis added). Rather, under the Executive

Order and the HHS Waiver, religiously-affiliated CPAs’ power to accept or reject

prospective foster parents is completely “standardless, calling for no reasons,

findings, or reasoned conclusions.” Id. “‘The potential for conflict inheres in the

situation,’” yet Defendants appear to argue that it is not their responsibility to ensure

“that the delegated power ‘[is] used exclusively for secular, neutral, and

nonideological purposes.’” Id. (quoting Levitt v. Comm. for Pub. Ed., 413 U.S. 472,



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480 (1973); Comm. for Pub. Ed. & Religious Liberty v. Nyquist, 413 U.S. 756, 780

(1973)) (internal alterations omitted).           Contrary to Defendants’ argument, the

Supreme Court has long recognized that the Constitution does not permit “a system

of government in which important, discretionary governmental powers would be

delegated to or shared with religious institutions.” Id. at 127. Therefore, to the

extent Defendants’ assert that their actions are immune from challenge under the

Establishment Clause as “religious accommodation,” such argument is directly

contrary to the well-pled allegations in the Complaint and long-established federal

jurisprudence and must be rejected at this stage of the proceedings.7

       C. Equal protection.

       The Equal Protection Clause of the Fourteenth Amendment provides, in

relevant part, that “[n]o State shall . . . deny to any person within its jurisdiction the

equal protection of the laws.” U.S. Const. Amend. XIV, § 1. In other words, the

Equal Protection clause “‘keeps governmental decisionmakers from treating


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  Finally, Defendants also raise a related argument that, had they done nothing and permitted DSS
to revoke Miracle Hill’s CPA license for failure to comply with state and federal non-
discrimination requirements, Miracle Hill’s free exercise rights would have been violated. This
argument is based solely on speculation regarding what Miracle Hill, a non-party to this action,
would have done if its license had been revoked. More importantly, however, such an argument
is unsupported by the law. “The Free Exercise Clause does not . . . relieve an individual of the
obligation to comply with a valid and neutral law of general applicability on the ground that the
law proscribes (or prescribes) conduct that his religion prescribes (or proscribes).” Fulton v. City
of Philadelphia, 922 F.3d 140, 152 (3d Cir. 2019) (quoting Employment Div. v. Smith, 494 U.S.
872, 879 (1990)) (internal quotation marks omitted). In other words, Miracle Hill’s “religious or
conscientious objections do not supersede the basic obligation to comply with generally applicable
civil rights laws provided those laws are applied neutrally.” Id. at 153 (citing Masterpiece
Cakeshop, Ltd. V. Colo. Civil Rights Comm’n, --- U.S. ---, 138 S. Ct. 1719, 1727 (2018)).

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differently persons who are in all relevant respects alike.’” Moss v. Spartanburg

Cty. School Dist. No. 7, 676 F. Supp. 2d 452, 459 (D.S.C. 2009) (quoting Morrison

v. Garraghty, 239 F.3d 648, 654 (4th Cir. 2001)). In order to survive dismissal on

an equal protection claim, a plaintiff must allege facts sufficient to show that he was

“treated differently from others with whom he is similarly situated and that the

unequal treatment was the result of intentional or purposeful discrimination.”

Morrison v. Garraghty, 239 F.3d 648, 654 (4th Cir. 2001). “Once this showing is

made, the court proceeds to determine whether the disparity in treatment can be

justified under the requisite level of scrutiny.”       Id.   Unless the challenged

classification violates a fundamental right or is drawn upon a suspect class such as

race, religion, or gender, it is presumed valid and need only be rationally related to

a legitimate state interest to pass under the Equal Protection clause. Giarratano v.

Johnson, 521 F.3d 298, 303 (4th Cir. 2008) (citing City of New Orleans v. Dukes,

427 U.S. 297, 303 (1976)); Johnson v. Hall, Civ. A. Nos. 4:08-cv-2726-TLW-TER,

4:09-cv-0102-TLW-TER, 2010 WL 3724746, at *10 (D.S.C. Aug. 23, 2010)

(quoting City of Cleburne v. Cleburne Living Ctr., Inc., 473 U.S. 432, 440 (1985)).

      In this case, for purposes of the motions to dismiss, Plaintiffs have met the

first hurdle, alleging that Defendants’ actions resulted in Plaintiffs being treated

differently from other similarly-situated prospective foster parents on the basis of

their religion and sexual orientation. See, e.g., (ECF No. 1 at 22 (alleging that



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“[w]ithout the HHS Waiver, Miracle Hill would not have been granted a standard

CPA license” and would not have been able to reject Plaintiffs based on their religion

or sexual orientation), 23 (alleging that, due to the Executive Order and HHS

Waiver, “DSS has taken no further steps to prevent discrimination by Miracle Hill

against prospective foster parents based on religion or sexual orientation”), 36

(alleging that “[b]y authorizing and funding Miracle Hill’s discrimination,

Defendants subjected Plaintiffs to different and unfavorable treatment based on

religion and sexual orientation”). Now the court must consider whether Plaintiffs

have alleged a lack of justification for Defendants’ action and this disparate

treatment under the requisite level of scrutiny. See Morrison, 239 F.3d at 654.

       1. Religious Discrimination

       As noted above, under the Equal Protection Clause, challenged government

action that “caus[es] disparate treatment based on a ‘suspect classification’ such as

race or religion . . . receives very strict scrutiny by the courts.” Prudential Prop. &

Cas. Co. v. Ins. Comm’n of S.C. Dep’t of Ins., 534 F. Supp. 571, 575–76 (D.S.C.

1982).    Plaintiffs argue that the State Defendants’ actions “clearly afforded a

denominational preference to evangelical Christianity[,]” and, consequently, must

be evaluated under strict scrutiny. (ECF No. 61 at 37). The State Defendants,8 on


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  Although Federal Defendants purport to argue that Plaintiffs failed to state a claim for equal
protection violations, Federal Defendants’ arguments amount to no more than a recitation of their
injury in fact and traceability arguments with respect to standing. See (ECF No. 50-1 at 19–24

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the other hand, argue that their actions in requesting the HHS Waiver and issuing

the Executive Order were “facially neutral with respect to religion and designed to

limit South Carolina’s interference with religious exercise” and are, therefore, only

subject to rational basis review. (ECF No. 57 at 25). In particular, State Defendants

argue that their actions treat all religions equally by allowing any religiously-

affiliated CPA to apply its own religious criteria to select prospective foster parents.

See id. at 23–24. The court agrees with State Defendants.

       When government action is “neutral on its face” and “afford[s] a uniform

benefit to all religions,” the proper inquiry is whether the action is rationally related

to a legitimate government purpose. Corp. of the Presiding Bishop of the Church of

Jesus Christ of Latter-Day Saints v. Amos, 483 U.S. 327, 339 (1987) (emphasis in

original). The facts set forth in the Complaint, and undisputed by Defendants,

establish that the Executive Order and the HHS Waiver do not distinguish between

religions, but apply equally to all faith-based CPAs “so that no ‘religious

organization’ would have ‘to choose between the tenets of its faith or applying for a

CPA license . . . .’” (ECF No. 57 at 24); see also (ECF No. 1 at 20–21, 22).



(arguing that Miracle Hill and the State Defendants are the cause of Plaintiffs’ alleged injuries
such that the claims cannot properly be brought against Federal Defendants); 30 (arguing
Plaintiffs’ equal protection claim fails because they have failed to allege a “cognizable injury” and
any injury they did suffer was caused by Miracle Hill, not Federal Defendants)). The court has
already addressed and rejected these arguments. Nevertheless, although only State Defendants
actually challenge whether Plaintiffs have plausibly stated a claim for equal protection, the court
analyzes the sufficiency of the claim as against both the State and Federal Defendants.


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Accordingly, to the extent State Defendants’ actions permit religious discrimination

in the administration of the State foster care program, their actions need only

withstand rational basis review to pass under the Equal Protection Clause. See Amos,

483 U.S. at 339.

      “To be irrational in the Constitutional sense, ‘the relationship of the

classification to its goal’ must be ‘so attenuated as to render the distinction

arbitrary.’” Johnson, 2010 WL 3724746, at *10 (quoting Nordlinger v. Hahn, 505

U.S. 1, 11 (1992)). Thus, “[i]f the classification has some ‘reasonable basis,’ it does

not offend the Constitution simply because the classification ‘is not made with

mathematical nicety or because in practice it results in some inequality.’”

Giarratano v. Johnson, 521 F.3d 298, 303 (4th Cir. 2008) (quoting Dandridge v.

Williams, 397 U.S. 471, 485 (1970)). Further, the burden is on Plaintiffs “‘to negate

every conceivable basis which might support’” Defendants’ actions. Johnson, 2010

WL 3724746, at *10 (quoting Lehnhausen v. Lake Shore Auto Parts Co., 410 U.S.

356, 364 (1973)). In other words, “the State has no obligation to produce evidence

to support the rationality of [its challenged action], which ‘may be based on rational

speculation unsupported by any evidence or empirical data.’”           Giarratano v.

Johnson, 521 F.3d 298, 303 (4th Cir. 2008) (quoting FCC v. Beach Comms., Inc.,

508 U.S. 307, 315 (1993)).




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      The dilemma of how this rational basis standard interacts with the dismissal

standard under Fed. R. Civ. P. 12(b)(6) was resolved by the Fourth Circuit in

Giarratano:

              The rational basis standard requires the government to win
              if any set of facts reasonably may be conceived to justify
              its classification; the Rule 12(b)(6) standard requires the
              plaintiff to prevail if relief could be granted under any set
              of facts that could be proved consistent with the
              allegations. The rational basis standard, of course, cannot
              defeat the plaintiff’s benefit of the broad Rule 12(b)(6)
              standard. The latter standard is procedural, and simply
              allows the plaintiff to progress beyond the pleadings and
              obtain discovery, while the rational basis standard is the
              substantive burden that the plaintiff will ultimately have to
              meet to prevail on an equal protection claim. . . .

              While we therefore must take as true all of the complaint’s
              allegations and reasonable inferences that follow, we
              apply the resulting “facts” in the light of the deferential
              rational basis standard. To survive a motion to dismiss for
              failure to state a claim, a plaintiff must allege facts
              sufficient to overcome the presumption of rationality that
              applies to government classifications.

521 F.3d at 303–04 (quoting Wroblewski v. City of Washburn, 965 F.2d 452, 459–

60 (7th Cir. 1992)) (internal citations and quotation marks omitted). In that case, the

Fourth Circuit held that dismissal was proper because the complaint’s “conclusory

assertion” that the challenged action “‘is not rationally related to any legitimate

government interest’” was “insufficient to overcome the presumption of rationality

. . . .” Id. at 304. Applying this analysis to the matter at hand, the court finds that




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dismissal of the equal protections claims regarding religion is also proper in this

case.

        In support of their equal protection claims against Defendants, Plaintiffs

simply allege that the “State Defendants’ [and Federal Defendants’] actions fail any

level of constitutional scrutiny because they do not rationally advance any legitimate

government interest.” (ECF No. 1 at 35, 37). This is a legal conclusion, not a factual

allegation, and the court need not accept it when ruling on a motion to dismiss. ACA

Fin. Guaranty Corp. v. City of Buena Vista, Va., 917 F.3d 206, 212 (4th Cir. 2019).

Additionally, in response to Plaintiffs’ allegations, Defendants’ proffered numerous

legitimate government interests rationally related to their actions permitting the use

of religious criteria by faith-based CPAs including, inter alia, “increasing

community support and options for foster child placement by maximizing the

number and diversity of CPAs[.]” (ECF No. 57 at 26); see also (ECF No. 50-1 at

25–26). Thus, Plaintiffs’ “conclusory assertion[s]” are “insufficient to overcome the

presumption of rationality” afforded to Defendants’ actions which are facially

neutral with respect to religion. See Giarratano, 521 F.3d at 304. “As long as the

[challenged action] chosen by [Defendants] rationally advances a reasonable and

identifiable governmental objective, [courts] must disregard the existence of other

methods of allocation that [judges], as individuals, perhaps would have preferred.”

Schweiker v. Wilson, 450 U.S. 221, 235 (1981). Accordingly, Plaintiffs’ equal



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protection claim for religious discrimination fails as a matter of law and Defendants

are entitled to dismissal of that claim.

      2. Sexual Orientation Discrimination

      As to sexual orientation discrimination, State Defendants merely challenge

whether Plaintiffs have sufficiently pled that they were discriminated against

because they are a same-sex couple. (ECF No. 57 at 23). The court finds that they

have. See (ECF No. 1 at 25 (alleging Plaintiffs “were turned away by Miracle Hill .

. . based on Miracle Hill’s religious objection to accepting same-sex couples”); see

also id. at 16–18 (setting forth Miracle Hill’s doctrinal statement which states, in

part, that “God’s design for marriage is the legal joining of one man and one woman”

and citing to numerous public reports supporting allegations that Miracle Hill “will

not accept married, same-sex couples as foster parents” and that “DSS has

acknowledged that Miracle Hill discriminates based on the sexual orientation of

prospective foster parents”).

      Because State Defendants limit their argument on sexual orientation

discrimination to whether Plaintiffs have in fact alleged such discrimination, they

provide no argument as to what level of scrutiny would apply should the court find

that such discrimination occurred. Although Plaintiffs argue that classifications

based on sexual orientations are “presumptively unconstitutional and subject to

heightened scrutiny[,]” (ECF No. 61 at 40), neither the Fourth Circuit nor the



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Supreme Court has expressly recognized sexual orientation as a classification

subject to heightened or strict scrutiny.        Thus, the classification drawn by

McMaster’s Executive Order and the HHS Waiver, permitting CPAs to use religious

criteria to deny same-sex couples access to South Carolina’s state- and federally-

funded public foster care program, is governed by rational basis review and will be

presumed valid and sustained if it is rationally related to a legitimate state interest.

See Giarratano, 521 F.3d at 303. However, since neither the State nor Federal

Defendants presented any arguments as to how their actions rationally related to a

legitimate State purpose, the court concludes that the Complaint has sufficiently

alleged that there is no legitimate purpose for Defendants’ actions and states a claim

under the Equal Protection Clause for sexual orientation discrimination such that

dismissal is in appropriate at this time.

                                 IV.    CONCLUSION

          Accordingly, for the reasons set forth herein, the Defendants’ motions to

   dismiss (ECF Nos. 50, 54, 57) are GRANTED in part and DENIED in part.

   Defendants’ motions are granted with respect to Plaintiffs’ claim for violation of

   the Fourteenth Amendment equal protection based on religious discrimination,

   which is hereby DISMISSED. However, Defendants’ motions are denied as to

   Plaintiffs’ claims for equal protection based on sexual orientation discrimination

   and violation of the Establishment Clause.



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        IT IS SO ORDERED.

                                   s/Timothy M. Cain
                                   United States District Judge

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